           Case 1:19-cv-02523-AJN Document 87 Filed 10/05/20 Page 1 of 3

                                                                       Hogan Lovells US LLP
                                                                       390 Madison Avenue
                                                                       New York, NY 10017
                                                                       T +1 212 918 3000
                                                                       F +1 212 918 3100
                                                                       www.hoganlovells.com

                                                                       Robin L. Muir
                                                                       Senior Associate
                                                                       T +1 212 918 3264
                                                                       robin.muir@hoganlovells.com


October 5, 2020

VIA ECF

Hon. Alison J. Nathan
United States District Court for the Southern District of New York
40 Foley Square, Room 2102
New York, New York 10007

Re:     Red Tree Investments, LLC v. Petróleos de Venezuela, S.A. and PDVSA Petróleo, S.A.
        S.D.N.Y. Nos. 1:19-cv-002519; 1:19-cv-002523

Dear Judge Nathan:

This firm represents Defendants Petróleos de Venezuela, S.A. (“PDVSA”) and PDVSA Petróleo,
S.A. (“Petróleo”) in the above-referenced actions (No. 1:19-cv-002519, hereinafter referred to as
“Red Tree 1,” and No. 1:19-cv-002523, hereinafter referred to as “Red Tree 2”). We write in
response to the letters filed by newly retained counsel for Plaintiff Red Tree Investments, LLC,
on September 29, 2020, asserting that Defendants’ pending Rule 56(d) motions for discovery are
now moot and proposing an expedited briefing schedule on Red Tree’s motions for summary
judgment. (Dkt. No. 84 in Red Tree 1; Dkt. No. 85 in Red Tree 2.)

Defendants disagree with Red Tree’s representation that, as a result of its recent production of
documents, Defendants’ motion to deny or defer consideration of Red Tree’s summary judgment
motions is moot, and object to Red Tree’s proposed expedited briefing schedule, as both
premature and unreasonable. Regrettably, Red Tree made this application to the Court without
conferring with Defendants on either issue. Indeed, Red Tree’s counsel filed its letters before it
even provided Defendants’ counsel with the passwords necessary to access the supplemental
production.

Defendants’ Rule 56(d) motion is not moot because all discovery sought has not been provided.
Contrary to Red Tree’s assertion, its voluntary productions1 did not include all categories of
documents requested by Defendants. For example, no correspondence to or from SACE S.p.A.
(“SACE”), the initial holder of the R-3 Note, one of the three notes at issue in the Red Tree 1
case, 2 has been produced. Defendants expressly reserved the right to obtain third-party discovery
1
         Given that Red Tree’s productions were made in an effort to moot Defendants’ motion and not pursuant to
a court order with the protections of Rule 37(b), Defendants submit that Red Tree should be ordered to certify its
productions, as complete.
2
        In Red Tree 1, Red Tree seeks to recover amounts allegedly due under two notes – the R-2 Note and the R-
3 Note – issued under a note agreement dated March 27, 2015 (the “2015 Note Agreement”) to GE Capital
Corporation (“GE Capital”) and later assigned to GE Capital EFS Financing Inc. (“GE EFS”), and a third note
           Case 1:19-cv-02523-AJN Document 87 Filed 10/05/20 Page 2 of 3


from any initial noteholder, if Red Tree could not, or otherwise failed, to produce such
documents. Defendants therefore should be permitted to seek discovery from SACE by third-
party subpoena.

Defendants’ Rule 56(d) motion is also not moot because Defendants expressly requested that
“they be permitted to seek additional discovery, including depositions, if the documents
produced by Red Tree or any third-party provide just cause to do so.” Although Defendants’
review of the recently produced documents by Red Tree is not complete, Defendants’
preliminary review confirms that just cause exists for Defendants to seek additional discovery.

Specifically, Defendants have just cause to pursue discovery regarding the location and
possession of the original R-3 Note, which is essential to Red Tree’s standing. Documents
produced by Red Tree indicate that the original R-3 Note was “lost” and reference a “lost note
affidavit.” RT_00013673-13679.3 Notably, the “Assignment and Acceptance” agreement –
which, according to Red Tree, assigned the 2015 Note Agreement and the R-2 and R-3 Notes to
Red Tree – only required the assignor to deliver the R-2 Note to Red Tree and makes no
reference to delivery of the R-3 Note. Defendants request the opportunity to inspect the original
R-3 Note, seek discovery on if and when the R-3 Note was delivered to Red Tree, and, if
necessary, seek discovery from SACE and GE EFS relating to the assignment of the R-3 Note
and other issues relevant to Red Tree’s standing.

Defendants also have just cause to obtain discovery regarding any attempted payments by
PDVSA to GE EFS that were rejected by a banking institution, which is directly relevant to
Defendants’ impossibility defense4 in both Red Tree 1 and Red Tree 2. See Organizacion JD
Ltda. v. U.S. Dep’t of Justice, 18 F.3d 91, 95 (2d Cir. 1994) (“[T]he private intermediary banks
cannot be subject to a damage action because the intervening government actions in ordering the
seizures of the EFTs rendered any enforceable contract impossible to perform.” (citations
omitted)); Opinion and Order at 7, Dresser-Rand Co. v. Petróleos de Venezuela, S.A., No. 1:19-
cv-2689-LLS (S.D.N.Y., Feb. 11, 2020), ECF No. 59 (denying summary judgment against
PDVSA because OFAC blocking sanctions “make it legally impossible here for PDVSA to pay
Dresser-Rand,” and thus, “there are material issues of impossibility of payment to prevent the
entry of judgment as a matter of law against PDVSA”).

Documents produced by Red Tree show that at least one payment by PDVSA to GE EFS was
delayed because a correspondent bank needed to obtain internal approval before processing
PDVSA’s payment. RT_00013422-13423.5 And, based on the timing of Defendant’ alleged
defaults, 6 Defendants have just cause to believe that as a result of the OFAC sanctions imposed

issued under a note agreement dated May 13, 2016 (the “2016 Note Agreement”) to GE EFS. In Red Tree 2, Red
Tree seeks to recover amounts allegedly due under a credit agreement dated December 27, 2016 (the “2016 Credit
Agreement”) issued to GE EFS.
3
        A copy of this document is not included because it was marked as “confidential” by Red Tree.
4
         Although Petróleo as Guarantor, waived certain defenses in the Note Agreements and Credit Agreement,
Petróleo did not knowingly and intentionally waive impossibility as a defense, and, as a matter of public policy,
Petróleo should not be regarded as having waived impossibility as a defense.
5
        A copy of this document is not included because it was marked as “confidential” by Red Tree.
6
        Red Tree alleges that PDVSA defaulted on the 2015 Notes in December 2017, on the 2016 Note in March
2018, and on the 2016 Credit Agreement in November 2017.


                                                       2
           Case 1:19-cv-02523-AJN Document 87 Filed 10/05/20 Page 3 of 3


against the Venezuelan oil industry in August 2017, banks – including, specifically, Deutsche
Bank, the bank that GE EFS designated for payment – employed policies that not only delayed
but prohibited the processing of payments from PDVSA to United States persons, making it
objectively impracticable or impossible for Defendants to make the requisite payments to GE
EFS or cure their alleged defaults.7 To obtain evidence in support of this defense, Defendants
request the opportunity to seek documents and testimony from the following third-parties:

    •   GE EFS regarding attempted payments by PDVSA that were rejected by a
        banking institution;
    •   Deutsche Bank Trust Company Americas, the holder of the bank account that GE
        EFS designated for payment in the 2015 and 2016 Note Agreements and the 2016
        Credit Agreement, regarding attempted payments by PDVSA that Deutsche Bank
        rejected or refused to process, and Deutsche Bank’s policies and procedures for
        filtering, assessing, processing and/or rejecting payment transactions involving
        Defendants and other Venezuelan government-related entities; and
    •   Wells Fargo Securities LLC, the holder of the account that Red Tree designated
        for payment upon assignment of the 2015 and 2016 Note Agreements and the
        2016 Credit Agreement, regarding Wells Fargo’s policies and procedures for
        filtering, assessing, processing and/or rejecting payment transactions involving
        Defendants and other Venezuelan government-related entities.8

Moreover, because Defendants’ Rule 56(d) motion is not moot, it is premature to set any briefing
schedule on Red Tree’s summary judgment motion. And, even if this Court were to deny
Defendants’ Rule 56(d) motion, Defendants respectfully submit that Red Tree’s proposed
briefing schedule – affording only two weeks to review Red Tree’s production and prepare
opposition to two motions for summary judgment – is unreasonable, under the circumstances
here. As this Court is aware, Defendants have had no access to their own documents, their
country is in the midst of the unparalleled economic and humanitarian crisis, and upwards of
$200,000,000 is at stake. Red Tree’s interest in resolving this case and its summary judgment
motion “quickly” is outweighed by Defendants’ due process right to a meaningful opportunity to
be heard.

For the foregoing reasons, Defendants respectfully request that this Court grant Defendants’ Rule
56(d) motion and grant them the opportunity to seek the discovery requested in their motion and
outlined above, and deny or defer Red Tree’s summary judgment motion until discovery is
complete.

Respectfully submitted,
/s/ Robin L. Muir
Robin L. Muir

7
         In Dresser Rand Company v. Petróleos de Venezuela, S.A., Judge Stanton of this District denied summary
judgment as against PDVSA after finding a triable issue of fact with respect to PDVSA’s impossibility defense.
Opinion and Order at 2-3, Dresser-Rand Co. v. Petróleos de Venezuela, S.A., No. 1:19-cv-2689-LLS (S.D.N.Y.,
Feb. 11, 2020), ECF No. 59. In opposition to the plaintiff’s summary judgment motion, among other documents,
PDVSA submitted evidence that PDVSA attempted to make the requisite payments, but that due to the OFAC
sanctions imposed in August 2017, various banking institutions rejected or refused to process the transactions.
8
         Defendants further reserve the right to seek additional discovery, including depositions, if the documents
and testimony obtained provide just cause to do so.


                                                        3
